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                           UNITED STATES DISTRICT COURT
                                        for the
                             SOUTHERN DISTRICT OF INDIANA

KAREN WOOD,                                   )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       CAUSE NO.: 1:16-cv-527-RLY-DKL
                                              )
EAGLE ACCOUNTS GROUP, INC.,                   )
                                              )
               Defendant.                     )

                               STIPULATION OF DISMISSAL

       Plaintiff, Karen Wood, by counsel, and Defendant, Eagle Accounts Group, Inc., by

counsel, hereby stipulate to dismissal with prejudice of this cause.

                                      Respectfully submitted,

                                      /s/ John T. Steinkamp
                                      John T. Steinkamp
                                      Attorney for Plaintiff

                                      /s/ Joseph B. Walterman
                                      Joseph B. Walterman
                                      Attorney for Defendant


                                      Certificate of Service

        I hereby certify that on June 11, 2016, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system. Notice of this filing will be sent to the following parties
through the Court’s Electronic Case Filing System. Parties may access this filing through the
Court’s system.

Attorneys for Plaintiff:

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                                                      /s/ Joseph B. Walterman
                                                      Joseph B. Walterman (24436-49)
